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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
FILED
re TSO
Civil Action No. ,

 

(To be supplied by the court) OCT 21 2021

— JEFFREY P. COLWELL
Qader Cv ewe iHorthaw Plaintiff CLERK

 

 

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, Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “see attached” in the space above and attach an additional
sheet of paper with the full list of names. The names listed in the above caption must be
identical to those contained in Section B. Do not include addresses here.)

 

PRISONER COMPLAINT

 

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other
materials to the Clerk’s Office with this complaint.

 

 
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A. PLAINTIFF INFORMATION

You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case.

Snu24 Coane eho ROA 05 Tbk,
(Name, prisoner identification numer, and complete mailing ad, -
290 6 ben Vege? Cok. Sea CSSDE-

(Other names by which you have yi

 

 

 

Indicate whether you are a prisoner or other confined person as follows: (check one)

x | Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner
Other: (Please explain)

 

B. DEFENDANT(S) INFORMATION

Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, use extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “B__DEFENDANT(S) INFORMATION. ”

Defendant 1: Tes Zw Rebtle. /
(Name, job title, and complete mailing add
be STesal S bbb G BGS

At the time the claim(s) | in thig cpfnplaint arose, was this defendant acting under
color of state or federal law? es___ No (check one). Briefly explain:

Vote ah

 

 

 

Defendant 1 is being sued in his/her___ individual and/or Cota capacity.
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Defendant 2: 2 OViza bel Dads ake

Defendant 3:

 

me, job title, and ee e mailing addres
«Pt Of Mfr! Qaedacer

At the time the claim(s) i in this cpthplaint arose, was this defendant acting under
color of stage or federal law? es No (check "y Briefly explain:

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Defendant 2 is being sued in his/her___ individual and/or ? C official capacity.

 

(Name, job title, and complete mailing address)

 

At the time the claim(s) | in this complaint arose, was this defendant acting under
color of state or federal law? ___ Yes __ No (check one). Briefly explain:

 

 

Defendant 3 is being sued in his/her ___ individual and/or ____ official capacity.

C. JURISDICTION
Indicate the federal legal basis for your claim(s): (check all that apply)

iL 42 U.S.C. § 1983 (state, county, and municipal defendants)

Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971)
(federal defendants)

Other: (please identify)

 
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D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action. For each claim,
specify the right that allegedly has been violated and_state all facts that support your claim,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). If additional space
is needed to describe any claim or to assert additional claims, use extra paper. to continue that
claim or to assert the additional claim(s). Please indicate that additional paper is attached and
label the additional pages regarding the statement of claims as “D. STATEMENT OF CLAIMS.”

CLAIM ONE: Nh Ge “ Dexbektiow — ee

Supporting facts: 1S SS 38 ClOO( CaX2\\

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E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you
were incarcerated? \Z Yes ____No (check one).

If your answer is “Yes,” complete this section of the form. If you have filed more than one
previous lawsuit, use additional paper to provide the requested information for each previous

lawsuit. Please indicate that additional paper is attached and label the additional pages
regarding previous lawsuits as “E. PREVIOUS LAWSUITS.”

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Name(s) of defendant(s):

 

Docket number and court:

 

Claims raised:

 

Disposition: (is the case still pending?
has it been dismissed?; was relief granted?)

Reasons for dismissal, if dismissed: LS.

Result on appeal, if appealed:

 

 

F. ADMINISTRATIVE REMEDIES |
WARNING: Prisoners must exhaust administrative remedies before filing an action in federal
court regarding prison conditions. See 42 U.S.C. § 1997e(a). Your case may be dismissed or
judgment entered against you if you have not exhausted administrative remedies.
Is there a formal grievance procedure at the institution in which you are confined?

Yes No (check one)

Did you exhaust administrative remedies?

Yes ___ No (check one)
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G. REQUEST FOR RELIEF

State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, use extra paper to request relief. Please indicate that
additional paper is attached and label the additional pages regarding relief as “G. REQUEST

FOR RELIEF.” LID“.5y l iG HAs Lae —
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H. PLAINTIFHWS SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

(2) is supported by existing law or by a nonfrivolous argument for extending or modifying

existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,

will likely have evidentiary support after a reasonable opportunity for further investigation or
overy; and (4) the complaint otherwise complies with the requirements of Rule 11.

E Lf —~—

aintiff’s signature)

Qer gD ZL

(Date

(Form Revised December 2017)
